                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE

TRACY E. HOLDER,                                )
                                                )
      Plaintiff,                                )      Civil Action No.: 2:10cv-0127
                                                )
v.                                              )      JUDGE HAYNES
                                                )
SMITH COUNTY, TENNESSEE,                        )      JURY DEMAND
and the SMITH COUNTY SHERIFF’S                  )
DEPARTMENT,                                     )
                                                )
       Defendant.                               )


           ANSWER ON BEHALF OF SMITH COUNTY, TENNESSEE 1



      Defendant Smith County, Tennessee, by and through undersigned counsel,

hereby responds to the complaint in this action as follows:

      1.     The Defendant admits that plaintiff filed a complaint with the Tennessee

Human Rights Commission and the Equal Employment Opportunity Commission. The

remaining allegations in paragraph 1 are allegations of law, not fact, which require no

response from the defendant.

      2.     Upon information and belief, the Defendant admits the allegations

contained within paragraph 2.

      3.     The Defendant admits the allegations contained within paragraph 3.

      4.     The Defendant admits the allegations contained within paragraph 4.

      5.     The Defendant admits the allegations contained within paragraph 5.


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  To the extent that this action is filed against the Smith County Sheriff’s Department,
the action is properly filed against the County alone. Therefore, the Defendant responds
to the complaint accordingly.



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         6.    Paragraph 6 contains allegations of law, not fact, which require no

response from defendant.

         7.    The Defendant denies the allegations contained within paragraph 7.

         8.    The Defendant denies the allegations contained within paragraph 8.

         9.    The Defendant denies the allegations contained within paragraph 9.

         10.   The Defendant denies the allegations contained within paragraph 10.

         11.   The Defendant denies the allegations contained within paragraph 11.

         12.   The Defendant denies the allegations contained within paragraph 12, as

Defendant has a Personnel Policies Manual that includes non-discrimination and sexual

harassment policies that apply to the Smith County Sheriff’s Department, which is a

subdivision of the Defendant.

         13.   The Defendant denies the allegations contained within paragraph 13.

         14.   The Defendant lacks sufficient information or knowledge to admit or deny

plaintiff’s allegations regarding photographs.   The Defendant denies the remaining

allegations contained within paragraph 14.

         15.   The Defendant lacks sufficient information or knowledge to admit or deny

whether plaintiff subjectively feared for her job or livelihood. The Defendant denies the

remaining allegations contained within paragraph 15.

         16.   The Defendant denies the allegations contained within paragraph 16.

         17.   The Defendant denies the allegations contained within paragraph 17.

         18.   The Defendant denies the allegations contained within paragraph 18.

         19.   The Defendant denies the allegations contained within paragraph 19.

         20.   The Defendant denies the allegations contained within paragraph 20.




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                                         PRAYER

         The Defendant denies that the plaintiff is entitled to any relief requested in her

prayer for relief. The Defendant denies any and all allegations in plaintiff’s complaint

not specifically admitted herein.

                              AFFIRMATIVE DEFENSES

         1.    The complaint fails to state a claim upon which relief can be granted.

         2.    The Defendant avers that some of the allegations which form the basis of

plaintiff’s THRA and Title VII claims are time-barred pursuant to the statutes of

limitation set forth in Tenn. Code Ann. § 4-21-311(d) and 42 U.S.C. § 2000e-5,

respectively. Further, the statute of limitations for THRA claims is not tolled by the

filing of administrative claims with the EEOC.

         3.    At all times relevant hereto, defendant had policies and procedures in

place prohibiting unlawful discrimination and harassment.

         4.    The Defendant avers that it never had notice of a sexually hostile work

environment, and once the Defendant had notice of the plaintiff’s subjective belief that

she was suffering a sexually hostile work environment, the Defendant immediately

investigated her allegations and took prompt and appropriate remedial action.

         5.    The Defendant avers that the plaintiff was never disciplined, reprimanded,

or denied any tangible job benefits or promotions for discriminatory reasons.

         6.    Alternatively, to the extent plaintiff alleges she was denied tangible job

benefits or promotions and/or suffered adverse employment actions, the Defendant

avers that any denial of job benefits or adverse employment action was based upon

legitimate, non-discriminatory reasons.




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         7.    The Defendant exercised reasonable care to prevent and correct promptly

any alleged harassment, and plaintiff unreasonably failed to take advantage of

preventive or corrective opportunities provided by the defendant or to avoid harm

otherwise.

         8.    The Defendant avers that the Plaintiff has not been subjected to sex

discrimination or harassment in violation of any state or federal law.

         9.    Punitive damages are not recoverable against the Defendant pursuant to

Title VII and THRA.

         10.   The Defendant avers that it is entitled to recover its costs and attorney’s

fees herein incurred in defense of this action pursuant to 42 U.S.C. § 1988 and § 2000e-

5 (k).

         11.   The Defendant specifically requests a jury of 12 to hear this matter.

         12.   The Defendant specifically reserves the right to amend this answer and

plead further as additional facts become available through further investigation or

discovery.

         Having answered the complaint and asserted its affirmative defenses, defendant

prays that the complaint be dismissed with the costs taxed to the plaintiff.

                                                  Respectfully submitted,

                                                  FARRAR & BATES, LLP


                                                  /s/ Robyn Beale Williams_________
                                                  Robyn Beale Williams, BPR #19736
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                                                  Nashville, TN 37219
                                                  (615) 254-3060
                                                  Attorney for Defendant Smith County




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                                 Certificate of Service

       The undersigned hereby certifies that on this, the 11th day of February, 2011, a
true and correct copy of the foregoing has been forwarded via the court’s electronic filing
system to:

John L. Lowry, Esq.
1507 16th Avenue South
Nashville, TN 37212
Attorney for Plaintiff


                                                 /s/ Robyn Beale Williams
                                                 Robyn Beale Williams




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